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United States District Court
Northern District of Texas

Supplemental Civil Cover Sheet For Cases Removed
From State Court

This form must be attached to the Civil Cover Sheet at the time the case is filed in the U.S.
District Clerk’s Office. Additional sheets may be used as necessary.

l. State Court Information:

Please identify the court from which the case is being removed and specify the number
assigned to the case in that court.

Court Case Number

127th Juo`licial District Court 2014-54532
Harris County, Texas

2. Style of the Case:

Please include all PlaintiiT(s), Defendant(s), Intervenor(s), Counterclaimant(s),
Crossclaimant(s) and Third Party Claimant(s) still remaining in the case and indicate their
party type. Also, please list the attorney(s) of record for each party named and include their
bar number, firm name, correct mailing address, and phone number (including area code.)

Party and Party Type Attorneygsi
AlliantGroup, L.P. - Plaintiff John T. Simpson, Jr-.

3009 Post Oa.l<; Blvd. , #200
Houston, ’I'X 77056
713-877-9600
SEE A'I'I'Z-\CHED FOR DEFENDZ-\NT INFO.
3. Jury Demand:

Was a Jury Demand made in State Court? ’ Yes No /

lf "Yes," by Which party and on What date?

 

Party Date

 

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ATTACHMENT TO SUPPLEMENTAL CIVIL COVER SHEET
FOR CASES REMOVED FROM STATE COURT

Party and Party Type

William Vokler and
Efflciency Energy, LLC -- Defendants

Attorney§ s1

Michael E. McCue

State Bar # 13494150

AleX PilaWski

State Bar # 24074899

MEADOWS, COLLIER, REED,
COUSINS, CROUCH &
UNGERMAN, L.L.P.

901 Main St., Ste. 3700

Dallas, TeXas 75202

214-744-3700

 

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Supplemental Civil Cover Sheet

 

 

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4. Answer:
Was an Answer made in State Court? ° Yes
lf "Yes," by which party and on what date'?
Party Date
5. Unserved Parties:

The following parties have not been served at the time this case was removed:

Party_ Reason(s) for No Service
N/A

 

6. Nonsuited, Dismissed or Terminated Parties:

Please indicate any changes from the style on the State Court papers and the reason for that
change:

Party Reason
N/A

7. Claims of the Parties:

The filing party submits the following summary of the remaining claims of each party in this

litigation:
Part_v_ Claim( s 1
Plaintif f Tortious Interference

Defenda_nt N/A

 

